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                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO
                                Judge Raymond P. Moore

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

          Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER and
  ASHLEIGH OLDS,

          Defendants.


                                             ORDER


          This matter comes before the Court on the Unopposed Motion for Settlement Conference

  (ECF No. 50). The Court finds good cause to grant such motion. It is therefore

          ORDERED that the Unopposed Motion for Settlement Conference (ECF No. 50) is

  granted. Magistrate Judge Watanabe is authorized to conduct a settlement conference in this

  case.

          DATED this 17th day of November, 2014.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge
